                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


MICHAEL WAITS,
individually and on behalf
of those similarly situated,

                    Plaintiff,
                                           Case No. 18-cv-771-pp
              v.

U-LINE CORPORATION,

                    Defendant.


 ORDER APPROVING SETTLEMENT, AWARDING ATTORNEYS’ FEES AND
           COSTS, AND APPROVING SERVICE PAYMENT


      On May 8, 2019, the court conducted a fairness hearing on the parties’

proposed settlement agreement. Dkt. Nos. 64, 71. The court previously had

granted preliminary approval of the settlement agreement on March 26, 2019.

Dkt. No. 34. At that fairness hearing, the court found that the settlement

agreement was fair, reasonable, and adequate. For the reasons stated on the

record, the court APPROVES the settlement agreement in its entirety and finds

that the settlement agreement meets the requirements of federal law, relevant

state law, and due process.

      1.      The court FINDS that the settlement terms negotiated by the

parties and described in the settlement agreement are a fair and reasonable

resolution of a bona fide dispute between the defendant, Michael Waits, the



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members of the certified Rule 23 class, and the members of the certified

collective class.

         2.      The court CERTIFIES the Rule 23 class and the collective class for

settlement purposes only.

         3.      The court ORDERS that Hawks Quindel, S.C. shall serve as class

counsel for the Rule 23 class and the collective class.

         4.      The court ORDERS that Michael Waits shall serve as

representative for the certified Rule 23 class and the collective class.

         5.      The court ORDERS that the settlement agreement is binding on

defendant, Michael Waits, the certified Rule 23 class members who did not

exclude themselves, and the collective class members who have opted into this

matter.

         6.      The court ORDERS that the settlement in the total amount of

$232,500, inclusive of attorneys’ fees, is approved.

         7.      The court FINDS the service award of $7,500 to the named

plaintiff, Michael Waits, to be fair and reasonable.

         8.      The court FINDS that the plaintiff’s request of attorneys’ fees in the

amount of $77,500 (33.33% of the common fund) is reasonable. The court

further FINDS that costs in the amount of $4,995.73 are fair and reasonable.

The court GRANTS the plaintiff’s motion for an award of attorneys’ fees and

costs and AWARDS Hawks Quindel, S.C. a total of $82,495.73 in fees and

costs.


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      9.      As provided in the settlement agreement, the court ORDERS

defendant to, within thirty days of this order,

              (a.)   deliver to Hawks Quindel, S.C. checks issued to the Rule 23

                     class members and the collective class members in the

                     amounts provided for in the final allocation which class

                     counsel has delivered to defendant’s counsel; and

              (b.)   deliver to Hawks Quindel, S.C. $82,495.73 for attorneys’ fees

                     and costs.

      10.     The court DISMISSES with prejudice and releases:

              (a.)   the Wisconsin law claims of the Rule 23 class members (as

                     identified in Exhibit A to the settlement agreement, dkt. no.

                     29-2, and excluding those who have excluded themselves) for

                     unpaid minimum, overtime, and/or agreed upon wages

                     resulting from U-Line’s alleged failure to pay for all hours

                     worked before that individual’s scheduled start time and

                     after that individual’s scheduled end time as well as the

                     failure to properly calculate the regular rate for purposes of

                     computing overtime compensation between May 21, 2016

                     and November 14, 2018;

              (b.)   the minimum and overtime wage claims of collective class

                     members (whose consent to join forms have been filed with

                     the court) under the FLSA resulting from U-Line’s alleged

                     failure to pay for all hours worked before that individual’s
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                  scheduled start time and after that individual’s scheduled

                  end time as well as the failure to properly calculate the

                  regular rate for purposes of computing overtime

                  compensation between May 21, 2015 and November 14,

                  2018.

      11.   The court retains jurisdiction for the sole purpose of enforcing the

terms of this order and the settlement agreement.

      Dated in Milwaukee, Wisconsin this 22nd day of May, 2019.

                                           BY THE COURT:



                                           HON. PAMELA PEPPER
                                           United States District Judge




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